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 1                                  UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
 2
                                     Case No. 17-cv-60417-BLOOM/Valle
 3

 4                                                     )
      SAMUEL M. BARBAKOFF,                             )
 5                                                     )
                       Plaintiff,                      )
 6                                                     )
             vs.                                       )
 7                                                     )
      SUN LIFE ASSURANCE COMPANY                       )
 8                                                     )
      OF CANADA,                                       )
 9                                                     )
                       Defendant.                      )
10

11
                                     NOTICE OF SETTLEMENT AND
12
                              REQUEST FOR ADMINISTRATIVE CLOSURE
13

14
             Plaintiff, SAMUEL M. BARBAKOFF, hereby informs the Court that the parties have
15
      reached an amicable settlement of this civil case in its entirety. Plaintiff asks the Court to
16
      administratively close this matter, subject to the right of any party to move the Court within 60
17
      days for the entry of a stipulated form of dismissal with prejudice or, on good cause shown, to
18
      reopen the case for further proceedings.
19
             The undersigned Plaintiff counsel has conferred with counsel for Defendant with respect
20
      to this Notice of Settlement. The undersigned Plaintiff counsel has been authorized to submit
21
      this Notice in order to alert the Court as soon as practicable.
22

23
      Dated: May 31, 2017                                    s / Nick A. Ortiz
24                                                           Nick A. Ortiz
                                                             Florida Bar No. 12699
25                                                           Ortiz Law Firm
                                                             823 E Jackson St.
26                                                           Pensacola, FL 32501
                                                             (850) 308-7833(P)
27                                                           (850) 208-3613 (F)
                                                             nick@nickortizlaw.com
28                                                           Counsel for Plaintiff


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 1
                                      CERTIFICATE OF SERVICE
 2
               I HEREBY CERTIFY that on this 31st day of May, 2017, I have electronically filed the
 3
      foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
 4

 5    document is being served this day via transmission of Notices of Electronic filing generated by

 6    CM/ECF this day on counsel for defendant SUN LIFE ASSURANCE COMPANY OF
 7
      CANADA: Wm. Jere Tolton, III, Ogden & Sullivan, P.A., 113 South Armenia Ave., Tampa, FL
 8
      33609.
 9

10
                                                  s / Nick A. Ortiz
11                                                NICK A. ORTIZ
                                                  Florida Bar No. 12699
12                                                NICK A. ORTIZ, P.A.
                                                  Counsel for Plaintiff
13
                                                  823 E. Jackson St.
14                                                Pensacola, Florida 32501
                                                  Telephone: (850) 308-7833
15                                                Facsimile: (850) 208-3613
16
                                                  Email: nick@nickortizlaw.com

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